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       Plaintiff(s)                                                               STEVEN M LAIRIMORE
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    1).JudgeIsicoffreadand heardtestimonywitnessesofwhosaw and hearda RacistIawye
    Ri                                                                                       rnamed Atty.
     chard Baron saying ''l'm going to getyou little BLACK BOY5 OUT ofQua
    l                                                                  ysideelexhibitk.)andyetJudge
    sico/ ispredjudiceandfringingon racism against us, when shesaysthingsIike l'm notgoing to letyou
    use me To slow down the inevitable foreclosure and eviction, and athearing she believed alIthatatly
                                                                                                       .
    said againstusand released ourproperty outofstayeventhough
                                                                    we were HOM ESTEADED w hich is
    prejudiceagainstourobjediontoclaim (seeexhibita1.)whichsheorthebankneveransweredto
                                                      .
    becauce we know thatthe banks don'town the note
  2).JudgeIsicoffreleasedthebankfrom thestayeventhoughshedidn'tanswer
  And the bank didn'task forthe release ofstay accordingto1he do               ourobjediontoclaim
  Q                                                              cket(seeexhibit.b.).Sheallowed
    uayside HomeOwnersAssociationlH.O.A.)to breakthestayto toforceusoutofthehousewithout
 sanctioningthem forturning offthe waterwhile we were in bankrupt
 J                                                                   cy (seeexhibit c1-2-3).County
   udge orders HOA Fla. Statute 718.303t0 turnW aterback on.
                                                             (exhibit.d1-2.)Audiotranscriptof
 AttorneyRichardBaronpurjuringhimselfsaying hedidn'tknow aboutthebank
                                                                             ruptcy because he only
 cameto onebankruptcyhearinganddidn'tknow aboutthebankruptcyuntil04/12/12 int
 (exhibi t.                                                                             ranscript
            e1-2-3)regardlessofthef-a11thatweshowedJudgeIsicofftwoaffidavi    tsofJamesLittl
 andAlfred Da                                                                                ejohn
 h               visinforming H.O.A.ofBankruptcyinFebuary(ExhibitF12 ).AndAtt'
                                                                        -
                                                                                 y.RichardBaron is
   eard onatape ina4ltexhibitg..is34laudiotapeofcreditorsmeetingofKurtMarin03/10/12
                                                                                             orderto
 email)meetingacknowledgingtbebankruptcy on3/10/12, so HOA knew aIIthe tim ethatthey were
 vi
 f
   olatingtbeSTAY(Exbibitb.theDocket)yetthiswasshowntoJudge Isicoffbutshe said we didn't ask
  orsanctionsyet on page 6 & 7oftranscriptthatshowswe did askforsa
                                                                     ndi
 though we gave herthe audio tape, withAm .Baron'svoice ata 2* earliermons
                                                                       eeti(exh
                                                                           ng  ibovi
                                                                              pr it1ng
                                                                                    .1-2-3).And
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 perjuryandknowledgeoftheFed.Stayalsoaffidavitsandswornastatementi
 HOA k                                                           n courtsee transcriptof
       nowledgeoftheStay(exhibit.h Docketshowsstayinlan.
 03/10/12 341 m eeting turned offagain afterM arcb 27 with fullyetwaterturnedoffinFeb.andafter
                                                               knowl
          ,
 J                                                                  edgeofStayland(exhibitjl.),yet
  udgelsicoffshowsherprejudiceagainstmebyallowingthem to lieandgiving usno Justus and no
 sand ionscausing usto Iose aIIourproperty.
  4).Judge Isicoffinadion ispunishingusand helping the vigilanty banksforeclose and trying to allow
 the selloffofthe restofthe property aIlwithout
                                     ,          answering ourobjedionto theirclaims.Judge Isicoff
 had an em ergency bearing filed byMauriceSymonetteforabankruptcystayfiled06/13/12 whichw            as
 violated(exhibit.J2-3.andseeGodsz-com courtvideo no.4 show ing banksknew ofbankruptcyoffered
 toIsicoff),vetAuroraBankevicteduswhilein bankruptcy,violating the autom atics'tay in w hlchthe
 Fed.Law saysyou m ustaskthe BankruptcyJudge forrelieve f
                                                              rom stayto evictFRCP65 RULE7065 OF 11
 USCSSS362(B)BUT AuroraevictedwhileStaywasactive, yetwe could notgetan em ergency hearing
from Judge bsicoffw hich sbould have happened im mediat
                                                       edlyasan Em ergencyyetshe walked pastm e
inthehallwayofthecourtsayingcomebackMondaywhileshe knew from my em ergencym otion that
ourpropertywould be sitting outinthe rain aIIrainy weekend and the H.O.A.stole a4Iourproperty out
ofthehouseon07/04/12(exhibit k3#3)Yettold ustbatmondayshewouldsetupahearing
                                   .
J                                                                                    , Iasked
 udge lsicof to recuseherselfbecauseofherpreviouspredjudice statementsand actionsassisting Atty
Baron who she knowssaid ''I'm goingto getyou Iittle Black Boyso                                       .
                                                             utofQuayside'',see w itnesses
affidavitsthatludge read and heardwitnesstestimonvoflexhibit. k1.)and asked forherrecusalfornot
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Case 1:12-cv-24555-UU Document 1 Entered on FLSD Docket 12/31/2012 Page 5 of 40

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  r ingonourobjectionto claim butrulingto Iifta stayforbankswithoutproofofclaim w hen Bank
  didn'taskforStay ReliefseeDocket(exhibitb.),W OW shewould notrecuse herselfsee (exhibit.k3.)
  then monthsIaterthe courtsendsthe m ailto where wew ere evicted from and HOA would notgive us
  accessto (exhibit.L.)theninformed usthatsanctionswere Denied becausewemissedCourt,then
  weeksIaterreconsideredafterreading motionand monthslaterwith usnevergettingnotice (exhibit.
  m)setahearing11/27/12todeliberatelymake usmisscourtanddismisswithPREJUDICEtheobvious
  violationofSTAY (exhibit.m2.),to helpAuroraBankstealourhomeand propertyaIlwithoutaobjection
  toproofofclaim hearing(showingownershipofnote)orasanctionhearing.W egotno protectionfrom
  theFederalGov.bi   g brother (Judge Isicoff)atall.
  sl.ludge Isicoffispredjudiceagainst us,whenshesaysthingsIikel'm notgoingto IetyouusemeTo
  slow downthe inevitableforeclosureand eviction,which ispredjudiceagainstourobjectionto claim
  (seeexhibit.a1.)whichsheorthebankneveransweredtobecausewe know thatthe banks don'town
  thenote,Thereforetheydon'thaveaclaim.Accordingto New YorkBankruptcyjudgeGrossmanwho
  said MERScan'tassi  gnnotescausetheydon'townthe note see (NYBankruptcycourtcaseinre Ferrel
  L.Agard #810-77338-regchapter.7l,texhibit.a2.)andM ERSsaidthesamethingin(MERSv.Nebraska
  Dept.ofBankingandFinance,704 N.W .2d 784(Neb.2005),(exhibit.a3.),andinourFederalIawsuite
  againstM ERS,and AURORA BANK we sued forthe same reason etc.and M ERS and AURORA BANK
  couldn'trespond and Defaultedand Iostthecase(exhibit.a4.)yetJudgelsicoffprejudgessaying its
  inevitable.whenthiscase iswhereM ERS assignedthe noteto Aurorabank(exhibi  t.q)wow
  prejudice.6).The H.O.A.evicted usfourtimeswithQuayside HOA GuardsIiketheGestapoknockingon
  ourdoorcom ing inthe House grabbing my arm and walking usoutthe frontGate physicallyw ithouta
  w ritofpossession and w ewere stillin bankruptcy Stay,withoutaJudgesorderfrom theCounty Court
  w ith theAurora Bankcase,the HOA Eviction,foreclosure case orthe FederalBankruptcy Court,also the
  H.O.A w rote noticesoutto guardsfrom Atty.Baron saying none ofusthatIived in 10671 NE Quaybridge
   ct.unitC-11were notallowedbackintotheprimises(exhibitp.HOA EVICTSus04/18/12wellafter
   knoeledge ofStay04/12/12 ).(H.O.A.)disabledtheinhouseelevatoralsoturnedoffelectictyasseen in
   affidavitsfrom JamesLittlejohnandMaurice yetnosanctionswerebroughtupagainstthem.(exhibitc
   1-2.).Now Judge IsicoffafterobviouslynotsanctioningAuroraBankand HOA forbankruptcystay
   violationsand perjurybyHOA Atty.Baronwho deliberatelyperjuredhimselfincourttoavoidadmitting
   know ledge oftheStay and being sanctioned w ith the help ofJudge lsicoff.And now Judge lsicoffon her
   own m otion isnow seeking to dism issm ycase to hurtme again and to help HOA getawayw ith
   violatingFederalStay(exhibit.o.)andcauseusgreatlossofpropertywiththem dividingthestolen
   spoilsw i
           th evildisgracefulRacistdiscrim ination to keep usIittle Black Boysoutoftheircom plex.Judge is
   also seekingto hide herm isconduct.




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                  AURORA LOM 3ERVIGEY,  LLG.v.Jtm '
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                                                        Ass1rnment                                               /ZzX
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             The assignm ent attached to the am ended com plaintis p om M ortgage
      w
           tlectronic R egistration System s,
           Pl                                 Inc.(hereinafterC'M ERS'')to
           f
             aintiff,and thatassignm entis com pletely ineFective A spom inee                        .
            orthe lender,M ER S serves in a very lim ited capacity
           M ERS                                                Specitically,                    .


           h       recordsthem ortgage and tracksownership ohhe lien M ER S                                  .

            as no substantive rights itselfand, therefore,cannot assign w hat it
          does nothave.ççA nom inee ofthe ow ner ofthe note and m
          not effecti                                                 ortgage m ay
                     vely assiN the note and m ortgage to anotherforw antofa
          ow n e                                                               n
                rship interestin said note and m ortgage by the nbm i
          BynkNatA ss'n v.Lam 824 N .Y .S.Zd 769                    nee.''L #
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     Wice
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              tate agency found thatV ER S is a mortgagebankersubjectto
   x
   w'            re#stration requirements,M ERS appealedto the Suprem e
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           CourtofN ebraska and outlined itsvery llm lted role as n om ln ee.
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  w        'tsubsequently, counselforM ER S explained thatM ER S doesnottake
           applications,undee te loans, m ake decisions on w hetherto extend
          credit collectm ortN ge paym ents, hold escrow s fortaxes and
          insurance,orprovide any loan servicing ftm ctio
                                                            nsw hatsoever.M ER S
          m erely tracks the ow nership of the lien and is paid for it
          through                                                     sservices
          R         m  em bershi
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             egistration System s, lnc.v.N ebraska D e aM entofB anking and
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      'tD om xm ents offered during the D epxrtm entheari            .
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      i        e ofM ER S'services''(d.Based on the explu ation 9om M ERS
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          tsélfand docllm entspresented by M ERS and review
sdûsurefraud.e t../a''- lM-eW - - ua-    d- -
                                                                                             ed by the Suprem e
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Case 1:12-cv-24555-UU Document 1 Entered on FLSD Docket 12/31/2012 Page 10 of 40

  Case 1:12-cv-21980-M G C Docum ent27 Entered on FLSD Docket07/11/2012 Page 1 of1

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    Symonet'te eta1,                               CA SE N O.12-cv-21980-M GC

           Plaintiffts),
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                                                                      Jul11,2012
    Aurora Loan ServicesLLC etal                                  STEVEN M.LARIM ORE
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           Defendantts).
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           Itappearing thatthe defendantts)herein,Aurora Loan ServicesLLC,isin defaultfor
    failtlreto appear,answerorotherwise plead to the com plaintGled herein within thetim e required

    bylaw.Defaultisherebyenteredagainstdefendantts)AuroraLoanServicesLLC,asofcourse,on
    thisdate July l1,2012.

                                               STEW N M .LA R IM O R E
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                                               By:s/A lex Rodriguez
                                                 Alex Rodriguez
                                                 Deputy Clerk
    cc:    Hon.M arcia G .Cooke
           Cotm selofRecord
           A uroraLoan ServicesLLC
           1800 NW 49* Skeet, Suite 120,Ft.Lauderdale,FL 33309
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     Rlm on Sqtmiento Esq.**                                           M iom i Floùda 33132
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     Via Rp-xlorand C.M
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     Dear* ,M arin:         i.

            Please be advised that if you do not pay the Towers of Quayside Homeowners
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     cc:       Tom Davis,GeneralM anager
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                       UNITED STATES BANKRUPTCY COURT
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       IN RE :                                    CA SE NO . 12-1O066-BKC-LM I

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       EV IDEN T IA RY HEA R IN G R E : M OT ION FOR SA NCT ION S PU R SUA NT
        TO 11 USC 362 (k) AUTOMATIC STAY V IOLAT ION AGA INST
       QUAYSIDE HOMEOWNERS A SSOCIATION FILED BY THE DEBTOR
                                              (81)

                                  September                 2012
14
                             The     above-entitled cause came                    on for
 16     hearing before the HONORABLE LAUREL MYERSON ISICOFF,
        one      of the Judges               the UNITED STATES BANKRUPTCY
 18     COURT,      in and for the SOUTHERN DISTRICT OF FLORIDA ,

 19     at        SW 1st       Avenue , M iam i,            Dade County, Florida ,
 20     on       Monday ,     September               2012 ,       commencing at
        ab out     3 :00 p .m .,     and       th e     fo llow ing         pr oce edin g s

 22     were had :
 23                                        Reported By :           M argaret Franzen
 24
 25


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                                   IV E & M AIJLDm COU RT REPORTERS,IN C.
                                            (305)358-8875
Case 1:12-cv-24555-UU Document 1 Entered on FLSD Docket 12/31/2012 Page 17 of 40
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                    MR . BARON :     I did .
                    THE COURT :      Okay . The fact that you did
 3     not recelve official notice is of no mom ent --

 4                  MR. BARON:       Okay .
 5                  THE COURT :          you understand that ?

  6                 MR . BA RON :    I do .
                     THE COURT :     Once you know about a
  8    bankruptcy -- once you get a phone call , once                      '
  9    someb ody calls you and says, hey,                 filed bankruptcy,
10     you have the right to say give me the case number so I
 11     I can confirm it , but once someb ody tells you they                   ?
 12     filed bankruptcy, you proceed at your own peril

 13                  MR . BARON :     Yes, ma 'am .
                     THE COURT :      -- if you ignore that .
       )              So the date of the 341 Meeting , let 's
 16 )take a look at that.                                                             zf
                                                                                     ('
 17                   MR . BARON :    Was April 12th .
 18                   THE COURT: Was April 12th, oka                 So thav
  19    was after the complaint for eviction was filed .

  20                  MR . BARON :     Correct .
                      THE COURT :      Okay .
                      MR . BARON :     At the tim e of the filing
  23       the ev iction complaint, Judge z              did not know he was

  24       in bankrup tcy .
  25                   THE COURT :     Okay, and what was the date


                          OC LLEM    & M AC Dm COG TM D RK M ,N C.
                                         (305)358-8875
Case 1:12-cv-24555-UU Document 1 Entered on FLSD Docket 12/31/2012 Page 18 of 40
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               Q     The pip es weren 't cut like they were with
  2     us?

               A     I 'm not going to answer .
  4                  THE COURT :       Answer the question if you know
  5     the answer .
                     THE W ITNESS :       Well, the pipes weren 't cut,
        SO -- -

  8                  THE COURT :       Then that 's the answer .
  9                  MR . MARIN :      Thank you .
 10                  THE COURT :       A 11 right .                            Mr . Baron , did you
        have any follow up questions?
 12                  MR . BARON :      No , ma 'am .
                     THE COURT :                 right .                       Thank you ,
 14    Mr . Davis, you can step down .
 15                  Okay .     So, Mr . Baron , when was the date
 16     that the eviction action -- oh , June 13th you
 17     said       was.
 18                  Now , Mr . Symonette has testified that
 19     there were two 341 meetings .                          I 've looked on the
20      calendar, I do see that the trustee had scheduled
        the 341 Meeting for -- it had been rescheduled
22      and then rescheduled .
23                   Do you recall being at more than one
24      341 Meeting?
25                   MR . BARON :      No , I was at one meeting, your
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                          OUELLEW E & M AULDm COURT REPORTERS,m C.
                                        (305)358-8875
Case 1:12-cv-24555-UU Document 1 Entered on FLSD Docket 12/31/2012 Page 19 of 40

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Case 1:12-cv-24555-UU Document 1 Entered on FLSD Docket 12/31/2012 Page 22 of 40    .zu   .




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     1                 THE COURT :      That 's a sep arate m otion -     We Are ---
     2                 MR . MARIN : Okay .
                       THE COURT :      This is -- Mr . Miller represents the
     4    tru stee .

                       MR . MARIN : Okay .
  6                    THE COURT :     Okay ?
  7                    MR . M ARIN :   Yes, I #m okay .
  8                    THE COURT : Okay .       So I 'm going to grant your
         motlon to July 2nd, Mr . Miller -
10                     MR . MILLER:     1111 draft an order, upload it
11       today , Your Honor .

                       THE COURT :     Okay .
                       MR . MILLER: And everything we do , Judge, we
14       because we know he 's pro se, he gets -- additionally gets
15       everything by mail, and if he gets a fax nllmher to us
         later, we 'll also fax it to him           .


                       THE COURT :     Okay .
18                  MR. MILLER: May I be excusmd , Your Honor?
19       don 't believe I'm hgrê on thê balance of the motion for
20       stay reiief -

                    THE COURT :        No, that 's fine .   Okay -     That 's fine ,
22       M r . Miller .    1 111 see you at 11 :30 .

23                  Okay .    So, Mr. Marin, now webre here on your
24        otions, okay .
25                 All right .         So you 've asked for a motlon for


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Case 1:12-cv-24555-UU Document 1 Entered on FLSD Docket 12/31/2012 Page 23 of 40
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   l    sanctlons agalnst Quayslde; is that correct?
   2               MR . MARIN :      Yes .

   3               THE COURT: 5o how -- did you serve Quayside with
   4    your motlon?
   5               MR. MARINI        Yes, I did .
   6               THE COURT: Okay. And how did you serve them?
   7               MR . MRRIN :      By paper .
   8               TRE COURT: Okay .          Who did you give the paper to?
   9               M R . MAR IN :    The hom eowners ' association .
 10                THE COURT:        Okay .   Just glve me a moment to pull
 11     it up .
 12                MR . MARIN :      Illegal eviction .
 13                THE COURT :       Okay .   Just glve me a second .
 14                Okay .    So you just -- you mailed it to the
 15     homeowners' associatlon?
 16                MR . M RR IN :    Dlrectly .

                   THE COURT:        Okay - And how do you know that
 18     that 's the homeown ers ' association ls address?
 19                M R . M ARIN :    It 's th e office , the hom eowners '
 20     association -
 21                THE COURT :       A1l right .    W ell,        it does not
 22     appear that service was proper ,
                                                   but let's just deal with
 23     the issue so        can have a better underatandlng of what the
 24     concern is.     They evicted you , or they just cut off your
 25    heat and water?



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Case 1:12-cv-24555-UU Document 1 Entered on FLSD Docket 12/31/2012 Page 24 of 40
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 You may be a creditorofthe debtor. Ifso.you w illreceive an additionalnoticefrom the coun seteing fo% important
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                                                                      KatherineG ould Feldm an
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                                      affidavit



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       were walking outside the courthouse and Richard Baron the attorney forH.O.A.had attended

       the meetingw aswalking outside tbe courthouse in frontofushe Iooked atusand said''I'm
       going to getyou Iittle black boysoutofquayside''.



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  goingto getyou little black boysoutofquayside''.




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Case 1:12-cv-24555-UU Document 1 Entered on FLSD Docket 12/31/2012 Page 29 of 40

                               UNITED STATES BANKRUPTCY COURT
                                                                               $ #1â//
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                                SOUTHERN DISTAIG OF FLORIDA


   IN RE:
                                                           CASE N0 .:12-23756 LM I
   M AURICE SYM ONEU E
         Debtor.


                                   MOTION TO CHANGEVENUE
         COM ES NOW ,the Debtorin Pro Se, respectfully movesthe Courtin the above-styled
  cause herein for a Chance of Venue from M iam iSouth
  Di                                                   ern District to Fort Lauderdale North
    strict pursuant to Fed. R.Bank P.lolv cl
                                           ari
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                                                 ion Act of2011, and in supports statesthe
  follow ing:

      1. The Debtorbelievesthathew illnotreceive afairrulingon any ofthe issuesinvolved on
         the Bankruptcy.

     2. The Debtorfeels and believes that the Judge
       J                                               and/orotherJudgesin thisSouthern
        urisdictlon who willbe prejudicialagalnsthim because ofpriore
                                                                       xposure ofothercases.

     3- The current BankruptW Judge taurelIsicoft has shown
        D                                                     a preponderance of w hat the
         ebtorbelieves isa prejudicialatti
                                         tude I.e.she failed to bold an emergency special
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         hearing when an illegalevid ion took pla
                                                    ce and sbe failed to bold responslble those
        individualsthatw illfully violated the autom ati
                                                       cstay,which cause Debtorgreatmonetary
        damage and em otionalstress-

     4. The courtused verbalthreatswhich intim idat
                                                     ed the Debtor,broughtQnnecessary fear
        and anxietw w ith the court's continuous drivin
                                                       g on the Debtor in that authoritarian
        voice thatultim ately broughtfearand disruption to the Debto
                                                                     r.The use ofintim idation
        each tim e Debtorappears inthe courtroom complet
                                                            ely unnervesthe Debtorand brings
        great fear to the Debtor as a result the Debto
                                                           r is unable to present the case
        intelligently.

    5. Nearly one (1)month ago Debtorwas told by the Courtthat Cou
                                                                           rt would rontad
       personally the individuals thatwere responsible forviolati
       th                                                       ng the Stay Order,and bring
         em into Courtto answerofdefend themselves.

       Attached hereto are pointsofam hor'
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       FederalCivilProcedure Rule 12 (b)28 U S.C.A.challenge to tbe jurisdiction does not
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 raise grave questions going in the m erit of controversw U
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  ompang v.Thom usD.c.#.A z:J Lsupp.
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                                      re duty to grantchange ofvenue.
       W HEREFORE, the Debtorm oves the courtto grantth
here aboveand supported by case Iaw                    e change of venue as requu ed       .
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                                                      M AURICE SYM ONETTE, Pro 5e
                                                      3320 N.E. 165TH STREET
                                                      M IAM LFL33160
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  Court(JudgeLaurelM .Isicoff)saidshewouldmailoutmy courtdatehearingfor
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